    Case 3:24-cv-00712-HTW-ASH                Document 19         Filed 02/18/25    Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI


                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )                     Civ. No. 3:24-cv-712-HTW-ASH
           v.                             )
                                          )
                                          )
MISSISSIPPI STATE SENATE,                 )
                                          )
                        Defendant.        )
__________________________________________)


  PLAINTIFF UNITED STATES’ RESPONSE TO DEFENDANT MISSISSIPPI STATE
     SENATE’S MOTION TO STAY THE ENTIRETY OF THE PROCEEDINGS

        Plaintiff United States of America, by and through the undersigned attorneys, hereby

responds to Defendant Mississippi State Senate’s Motion to Stay the Entirety of the Proceedings

(ECF No. 14). As a matter of compromise, the United States does not oppose Defendant’s

request for a stay, but requests that the duration of the stay be limited to forty-five (45) days from

its entry by the Court. In support of this request, Plaintiff states:

    1. As a point of clarity, the United States Attorney General has not directed the Civil Rights

        Division to freeze all activity in this case, either through the January 22, 2025 internal

        memorandum from the Attorney General’s Chief of Staff (ECF No. 14-1) or otherwise.

    2. Defendant’s January 27, 2025 stay motion asks that proceedings in this case be stayed

        “until President Trump’s Attorney General and/or Assistant Attorney General for Civil

        Rights can review this case.” (ECF No. 14 at 1). Defendant also represents that “[o]nce

        the nominations are confirmed, the DOJ controls the timeline” of the stay. (ECF No. 15 at

        7).
Case 3:24-cv-00712-HTW-ASH              Document 19         Filed 02/18/25    Page 2 of 4




3. Pamela Bondi was sworn in as United States Attorney General on February 5, 2025.

   Since January 20, 2025, other political appointees have also begun their tenure in the

   Office of the Assistant Attorney General for the Civil Rights Division and elsewhere in

   the Department of Justice (“Department”).

4. In the spirit of compromise and as a matter of professional courtesy, the United States

   does not oppose a short stay ending on a date certain.

5. The United States represents that a stay of forty-five (45) days from the date of entry is

   adequate to permit additional review by any necessary parties within the Department who

   should request to do so. If the United States requires additional time, the Department will

   request it.

6. Defendant is seeking a stay of indeterminate length based on the arrival of particular

   appointees identified by Defendant—regardless of the presence within the Department of

   other political appointees of President Trump. This does not provide good cause for an

   indefinite stay of this case.

7. The Department, not Defendant, is the appropriate party to determine whether the

   Department’s internal processes warrant requesting a stay. Courts have recognized that

   neither a defendant nor the court may exercise authority over internal processes within

   the Department of Justice. See United States v. Wilson, 518 F. Supp. 3d 678, 682

   (W.D.N.Y. 2021) (denying a criminal defendant’s request for court involvement in the

   Department’s internal process for deciding what criminal charges to bring); United States

   v. Slone, 969 F. Supp. 2d 830, 833–34 (E.D. Ky. 2013) (stating while this Court “has

   inherent power to manage its docket . . . it may not direct the Executive Branch how to

   exercise its traditional prosecutorial discretion”).



                                              2
      Case 3:24-cv-00712-HTW-ASH            Document 19        Filed 02/18/25      Page 3 of 4




   8. Therefore, the United States does not oppose a stay that ends forty-five (45) days from

        the date it is entered by the Court, unless the United States should request to extend the

        stay for good cause shown.

   9. Due to the straightforward nature of this response, the United States asks that the Court

        waive the requirement of a separate memorandum under Rule 7(b)(4) of the Local

        Uniform Civil Rules.


Date: February 18, 2025


Respectfully submitted,

        KATHLEEN WOLFE
        Deputy Assistant Attorney General
        Civil Rights Division

        KAREN D. WOODARD
        Chief

BY:     /s/ Louis Whitsett
        VALERIE MEYER, Deputy Chief
        (AZ Bar No. 023737)
        LOUIS WHITSETT, Senior Trial Attorney
        (DC Bar No. 257626)
        YOUNG CHOI, Trial Attorney
        (CA Bar No. 327027)
        U.S. Department of Justice
        Civil Rights Division
        Employment Litigation Section
        4 Constitution Square, 9th Floor
        Washington, D.C. 20002
        Telephone: (202) 305-5828
        Facsimile: (202) 514-1005
        Email: Louis.Whitsett@usdoj.gov




                                                 3
      Case 3:24-cv-00712-HTW-ASH           Document 19     Filed 02/18/25   Page 4 of 4




        PATRICK LEMON
        Acting U.S. Attorney
        Southern District of Mississippi

BY:     /s/ James E. Graves, III
        JAMES E. GRAVES, III
        (MS Bar No. 102252)
        Assistant United States Attorney
        Southern District of Mississippi
        501 Court Street, Suite 4.430
        Jackson, Mississippi 39201
        Telephone: (601) 965-4480
        Facsimile: (601) 965-4032
        Email: James.Graves@usdoj.gov

        Attorneys for Plaintiff United States of America




                                                4
